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8                         UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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                                                  )
11     VICTOR WAYNE COOPER,                       )    Case No. EDCV 20-0222-MWF (JEM)
                                                  )
12                         Petitioner,            )
                                                  )    ORDER ACCEPTING FINDINGS AND
13                  v.                            )    RECOMMENDATIONS OF UNITED
                                                  )    STATES MAGISTRATE JUDGE
14     MONA HOUSTON, Warden,                      )
                                                  )
15                         Respondent.            )
                                                  )
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             Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
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       records on file, and the Report and Recommendation of the United States Magistrate
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       Judge. No Objections to the Report and Recommendation have been filed within the time
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       allowed for Objections. The Court accepts the findings and recommendations of the
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       Magistrate Judge.
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             IT IS ORDERED that: (1) Respondent’s Motion to Dismiss is granted; and (2)
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       Judgment shall be entered dismissing the action without prejudice.
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       DATED: January 11, 2021
25                                                        MICHAEL W. FITZGERALD
                                                      UNITED STATES DISTRICT JUDGE
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